    1Post.3/26/13)                Case 4:13-cr-00197-BSM Document 159 Filed 09/23/13 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     EASTERN DISTRICT OF ARKANSAS
                                                            WESTERN DIVISION

                         UNITED STATES OF AMERICA

                                vs.

                                                                                                                   DEFENDANT


                                             WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                                AND ENTRY OF PLEA OF NOT GUILTY
                                      (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                                 NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
                         hereby acknowledges the following:

                         I)     Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                                information in this case. Defendant understands the nature and substance of the charges contained
                                therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                                advised of all of the above by his/her attorney.

                         2)     Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                                for arraignment in open court on this accusation. Defendant further understands that, absent the
                                present waiver, he/she will be so arraigned in open court.




                                                                 ORDER OF COURT

                                  The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                                  plea of not guilty is entered for the defendant effective this date.

                                  The defendant's request to waive appearance ·~~7D.

                                  q-~3-13                                       ~
                                  Date                                     Judicial Officer



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